     Case 2:20-cv-09097-DMG-PVC Document 67 Filed 11/16/21 Page 1 of 1 Page ID #:731




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8                             UNITED STATES DISTRICT COURT
9                           CENTRAL DISTRICT OF CALIFORNIA
10
                                                  ) Case No. CV 20-9097-DMG (PVCx)
11     ORLANDO GARCIA,                            )
                                                  )
12                              Plaintiff,        ) JUDGMENT
                                                  )
13                 v.                             )
                                                  )
14     DEANNA ANTOINETTE DUCTOC, et               )
                                                  )
15     al.,                                       )
                                                  )
16                              Defendants.       )
                                                  )
17                                                )
18
19            This Court having granted Defendant Deanna Antoinette Ductoc, Angel Daniel
20     Ductoc, Jr., and Janice Rosales’s Motion for Summary Judgment by Order dated November
21     16, 2021,
22            IT IS ORDERED, ADJUDGED AND DECREED that judgment is entered in
23     favor of Defendants and against Plaintiff Orlando Garcia.
24     DATED: November 16, 2021
25                                                              DOLLY M. GEE
26                                                      UNITED STATES DISTRICT JUDGE
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